Case 1:06-cr-10030-DDD-JDK   Document 120   Filed 04/03/09   Page 1 of 5 PageID #:
                                    431
Case 1:06-cr-10030-DDD-JDK   Document 120   Filed 04/03/09   Page 2 of 5 PageID #:
                                    432
Case 1:06-cr-10030-DDD-JDK   Document 120   Filed 04/03/09   Page 3 of 5 PageID #:
                                    433
Case 1:06-cr-10030-DDD-JDK   Document 120   Filed 04/03/09   Page 4 of 5 PageID #:
                                    434
Case 1:06-cr-10030-DDD-JDK   Document 120   Filed 04/03/09   Page 5 of 5 PageID #:
                                    435
